Case 3:20-cv-00098-REP Document 254 Filed 05/24/20 Page 1 of 5 PageID# 5164



                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

                                                  )
STEVES AND SONS, INC.,                            )
                                                  )
                        Plaintiff,                )
                                                  )       Civil Action No. 3:20-cv-000098
v.                                                )
                                                  )
JELD-WEN, INC.,                                   )
                                                  )
                        Defendant.                )
                                                  )


          STEVES AND SONS, INC.’S MEMORANDUM IN SUPORT OF
       MOTION TO FILE ITS LETTER REGARDING DISCOVERY DISPUTES,
              AND ACCOMPANYING EXHIBIT 1, UNDER SEAL

       Plaintiff Steves and Sons, Inc. (“Steves”), pursuant to Rule 5 of the Local Civil Rules,

respectfully moves the Court for an order sealing portions of its Letter Regarding Discovery

Disputes, and Exhibit 1 thereto. In support of this motion, Steves states:

       Local Rule 5(C), Section 1 -- Non-confidential description of the material filed under
       seal.

       The material filed under seal consists of documents (and the discussion of documents)

designated as “Highly Confidential” pursuant to the Stipulated Protective Order entered in this

matter (Dkt. No. 25).

       The material filed under seal also consists of non-public information, which JELD-WEN

regards as commercially sensitive, as well as of statements in the Memorandum citing this

information.
Case 3:20-cv-00098-REP Document 254 Filed 05/24/20 Page 2 of 5 PageID# 5165



       Local Rule 5(c), Sections 2 and 3 -- A statement why sealing is necessary, references
       to governing case law, analysis of the appropriate standard, and a description of
       how that standard has been satisfied.

       Sealing Exhibit 1 and related discussion of Exhibit 1 is necessary because the exhibit is

designated “Highly Confidential” per the Protective Order (Dkt. No. 25). Further, sealing of the

information in Exhibit 1 and statements regarding that information is necessary because it is non-

public information, which JELD-WEN regards as commercially sensitive.

       Documents should be sealed when a party’s interest in keeping the information contained

therein confidential outweighs the right of public access to judicial documents. See, e.g., Stone v.

Univ. of Maryland Med. Sys. Corp., 855 F.2d 178 (4th Cir. 1988); Ashcraft v. Conoco, Inc., 218

F.3d 288, 302 (4th Cir. 2000). The United States Court of Appeals for the Fourth Circuit has

directed that district courts should consider the following factors when determining whether to

exercise their discretion to seal documents: (1) “whether the records are sought for improper

purposes, such as promoting public scandals or unfairly gaining a business advantage;” (2)

“whether release would enhance the public’s understanding of an important historical event;

and” (3) “whether the public has already had access to the information contained in the records.”

Va. Dept. of State Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004).

       Here, there could be an “unfair business advantage” gained by any party who had access

to JELD-WEN’s confidential information, which JELD-WEN regards as commercially sensitive.

According to JELD-WEN, the public has never had access to the information at issue and it is

routinely kept in confidence in the course of business. These are appropriate grounds for sealing.

       Local Rule 5(c), Section 4 – Statement as to the period of time the party seeks to
       have the matter maintained under seal.

       Steves further requests that the documents designated as “Highly Confidential” be filed

under seal, pursuant to the Stipulated Protective Order (Dkt. No. 25), entered February 20, 2020.

                                                 2
Case 3:20-cv-00098-REP Document 254 Filed 05/24/20 Page 3 of 5 PageID# 5166



Steves also believes that Exhibit 1 and portions of the Letter requested to be filed under seal

should remain under seal indefinitely in the absence of a court ruling that the material is not

confidential.

        The Letter and Exhibit 1 sought to be filed under seal are being filed electronically with

the Court contemporaneously herewith, as required by Local Civil Rule 5. A redacted version of

the Letter is being publicly filed.

Dated: May 24, 2020

                                             Respectfully submitted,

                                             STEVES AND SONS, INC.

                                             By:    /s/Lewis F. Powell III
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                                                3
Case 3:20-cv-00098-REP Document 254 Filed 05/24/20 Page 4 of 5 PageID# 5167



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                                     4
Case 3:20-cv-00098-REP Document 254 Filed 05/24/20 Page 5 of 5 PageID# 5168



                                CERTIFICATE OF SERVICE

       I hereby certify that on May 24, 2020, I caused a copy of the foregoing to be

electronically filed using the CM/ECF system, which will send notification to counsel of record

of such filing by operation of the Court’s electronic system. Parties may access this filing via the

Court’s electronic system.


                                              By /s/Lewis F. Powell III
                                                    Lewis F. Powell III




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